Case 7:19-cv-00285-GEC Document 8 Filed 06/06/19 Page 1 of 1 Pageid#: 249
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      Plaintuis
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V CHAEL h.CAVALIERI,eta1..
                                                  By:Hon.GlenE.Conrad
      Defendants.                                 SeniorUnitedSttesDisz ctJudge

      'Ihe courthasbefore itthe plaine s nouce of dlsmissalEled in this case purslpsntto

Rule41(a)(1)(A)(i)oftheFederalRulesofCivllProcedure.
      ltlsaccordlngly,

                              ADJUDGED and ORDERED

thattheabove-o ledmatterisDISV SSED withoutpreludlce,andtl;scaseisM ckenâom the
activedocketofthiscourt

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            Entertbls J dayofJune,2019.



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